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AU 245B         (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                    V.                                     )

                    LASONDRA MILES DAVIS                                           Case Number: 3:14cr335-02-WKW
                                                                           )       USM Number: 15481-002

                                                                                    Richard Keith
                                                                                   Defendant's Attorney
THE DEFENDANT:
  p1eadcd guilty to count(S)             17 of the Indictment on 04/10/2015
E pleaded nolo contendere to count(s)
  which was accepted by the court.                                      ---
E was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                       Offense Ended              Count

 18:1028A(a)(1) and                  Aggravated Identity Theft; Aiding and Abetting                          05/31/2014                 17
    (c)(5); 2




   See additional Count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
El The defendant has been found not guilty on count(s)
   Count(s) 1, 2-16 and 18-31                                  is   dare dismissed on the motion of the United States.

         It is ordered that the defendant trust notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          09/01/2015
                                                                           Date of Imposition of Judgment




                                                                               'H
                                                                           Signature of Judge


                                                                          W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                           Name of Judge                              Title of Judge




                                                                           Date
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AO 245B         (Rev. 09/11) Judgment in a Criminal Case
VI              Sheet 2— Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: LASONDRA MILES DAVIS
     CASE NUMBER: 3:14cr335-02-WKW


                                                                    IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:

     24 Months



         El The court makes the following recommendations to the Bureau of Prisons:




         E The defendant is remanded to the custody of the United States Marshal.

         El The defendant shall surrender to the United States Marshal for this district:
             E at                                            a.m.     E p.m.       on

             El as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before 2:00 PM on                        10/13/2015

                  as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                       with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                   Case 3:14-cr-00335-WKW-WC Document 98 Filed 09/04/15 Page 3 of 6

AO 245B        (Rev. 09/1 1) Judgment in a Criminal Case
               Sheet 3— Supervised Release


DEFENDANT: LASONDRA MILES DAVIS                                                                                        Judgment Page: 3 of 6
CASE NUMBER: 3:14cr335-02-WKW
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  1 Year

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e seq.)
 E      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, (f applicable.)

 E The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcerrent officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
          permission of the court; and

  13)     as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/I1) Judgment in a Criminal Case
vi             Sheet 3C— Supervised Release

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: LASONDRA MILES DAVIS
 CASE NUMBER: 3:14cr335-02-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AO 245B          (Rev. 09/I1) Judgment in a Criminal Case
vi               Sheet 5—Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 6
     DEFENDANT: LASONDRA MILES DAVIS
     CASE NUMBER: 3:14cr335-02-WKW
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                       Fine                                 Restitution
 TOTALS                $ 100.00                                       $                                     $ $1,941.00


     E The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AG 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                   Total Loss*               Restitution Ordered Priorit y or Percenta2e

      IRS-RACS                                                                                              $1,941.00
      Attention: Mail Stop 6261, Restitution
      333 West Pershing Avenue
      Kansas City, Missouri 64108




 TOTALS                                                                               $0.00                 $1,941.00


 E Restitution amount ordered pursuant to plea agreement $

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the        El fine   V restitution.
              the interest requirement for the         F fine    E restitution is modified as follows:



 * Findings for the total amount of losses are required under Charlers 109A, 110, 11 OA, and 1 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                 Case 3:14-cr-00335-WKW-WC Document 98 Filed 09/04/15 Page 6 of 6

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 6— Schedule of Payments

                                                                                                                             Judgment Page: 6 of 6
 DEFENDANT: LASONDRA MILES DAVIS
 CASE NUMBER: 3:14cr335-02-WKW


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of$ 2,041.00                        due immediately, balance due

           F    not later than                                       , or
           F in accordance  fl C, fl D, fl E, or fl F below; or
 B fl Payment to begin immediately (may be combined with fl C, fl D, or fl F below); or
 C    fl Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    fl Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post Office Box 711,
            Montgomery, Alabama 36101. Any balance remaining at the start of supervision shall be paid at the rate of not less than $100.00 per
            month. To the extent that other defendants are ordered in this case or in any other case to be responsible for some or all of the restitution
            amount owed to the victim, the victim is entitled to only one recovery, from whomever received. In other words, the victim is not allowed
            to receive compensation in excess of its loss.
                                                  Related defendant/case: Teresa Floyd - 3:1 4cr33 5-01 -WKW

 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 El The defendant shall pay the cost of prosecution.

 E The defendant shall pay the following court cost(s):

 E The defendant shafl forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
